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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )       No. 1:21-cr-00028-APM-15
               v.                           )
JASON DOLAN                                 )
               Defendant                    )


  DEFENDANT JASON DOLAN’S RESPONSE TO GOVERNMENT’S MOTION FOR
                REVOCATION OF ORDER OF RELEASE
        Now comes Defendant, Jason Dolan, by and through his undersigned counsel, Michael T.

van der Veen, and hereby submits this Response to the Government’s Motion for Revocation of

Order of Release.

   I.      Procedural History
        On or about May 26, 2021, a United States District Court for the District of Columbia

Grand Jury formally indicted Defendant of having committed violations of 18 U.S.C. § 371

(Conspiracy), 18 U.S.C. §§ 1512(c)(2), (Obstruction of an Official Proceeding and Aiding and

Abetting), 18 U.S.C. §§ 1361, 2 (Destruction of Government Property and Aiding and Abetting),

and 18 U.S.C. § 1752(a)(1), (Entering and Remaining in a Restricted Building or Grounds).

        On May 27, 2021, the FBI arrested Defendant in the Southern District of Florida. The

Government moved for pre-trial detention of Defendant on the basis that he is a substantial or

serious risk of flight or nonappearance and a danger to the community. The U.S. Probation Office

conducted a pretrial services interview of Defendant and rendered a report recommending

Defendant be released on conditions. (See Exhibit 1).



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          On May 28, 2021, Defendant appeared before Magistrate Judge Bruce E. Reinhart. On the

Government’s motion, Judge Reinhart ordered Defendant be detained pending a continuance.

          On June 2, 2021, Judge Matthewman presided over a detention hearing, which was begun

and then continued until the following day. The Government proceeded by proffer rather than

calling live witnesses and Special Agent Justin Spence was submitted for cross-examination.

          On June 3, 2021, Judge Matthewman found that the presumption of detention under Section

3142 (e)(3)(C) was successfully rebutted by the defense, denied the Government’s motion for

detention, and ordered Defendant released. This appeal followed. The Government seeks Mr.

Dolan’s pretrial detention based on dangerousness to the community.

   II.       Standard of Review
          “Neither Section 3142 nor Section 3145 specifies the standard of review to be applied by

a district court reviewing a magistrate judge’s release or detention order, and ‘the D.C. Circuit has

not yet addressed the issue.’” United States v. Hunt, 240 F. Supp. 3d 128, 132-33 (D.D.C. 2017).

“Nonetheless, both the Bail Reform Act of 1984 and the Federal Magistrates Act, 28 U.S.C.

Section 636 support the conclusion reached by every circuit to have considered the question, that

a district court reviews a magistrate judge’s release or detention order de novo.” Id.

          As this Court reviews the findings of the magistrate court, it will do so using a de novo

standard of review. “The Court is free to use in its analysis any evidence or reasons relied on by

the magistrate judge, but it may also hear additional evidence and rely on its own reasons.” U.S. v.

Johnston, 2017 U.S. Dist. LEXIS 159461, *8 (D.C. Cir. 2017) (citing U.S. v. Hubbard, 962

F.Supp.2d 212, 215 (D.D.C.2013) (quoting U.S. v. Sheffield, 799 F.Supp. 2d 18, 20 (D.D.C.

2011)).




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   III.       Factual Background
          The Government alleges that Mr. Dolan participated in the January 6 Capitol riots as a

member of the Oath Keepers; specifically, they aver that he conspired with fifteen others to

illegally enter the Capitol on January 6th and interrupt the Joint Session of the United States House

of Representatives and the United States Senate convened in the Capitol to certify the electoral

college vote of the 2020 U.S. Presidential Election. The Government alleges that Mr. Dolan

illegally entered the Capitol building, unarmed, where he stayed for, according to Special Agent

Spence’s sworn testimony, less than 10 minutes before exiting. Unlike some of the other alleged

co-conspirators, Defendant is neither accused of assaulting any police personnel, nor carrying any

weapons including firearms or zipties, He did not damage, loot or remove any property. During

the short period that Defendant is alleged to have been inside the Capitol, he remained only in the

Capitol Rotunda and other public areas of the Capitol. Mr. Dolan did not enter the Senate or House

Chambers or any Congressional offices. By the time he is alleged to have entered the Capitol at

2:40 p.m., the proceedings had already been adjourned. Defendant is neither accused of being a

leader nor organizer of the Oath Keepers and the evidence proffered by the Government establishes

that Mr. Dolan did not attend any leadership meetings. In fact, the first mention of Mr. Dolan’s

involvement in the indictment is not until a meeting on January 3, 2021.

   IV.        Legal Analysis
          In our society, liberty is the norm, and detention prior to trial or without trial is the carefully

limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987); id. at 750 (holding that the

“individual’s strong interest in [pretrial] liberty is “fundamental.”). This is because America has

as a founding principle that “[f]reedom from bodily restraint has always been at the core of the

liberty protected by the Due Process Clause.” Foucha v. Louisiana, 504 U.S. 71, 80 (1992) (citing

Youngberg v. Romeo, 457 U.S. 307, 316 (1982)). Determination of whether a defendant should be

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detained must always begin with a presumption in favor of release. U.S. v. Ali Muhamed Ali, 793

F. Supp. 2d 386, 387 (D.D.C. 2011).

       “The Bail Reform Act of 1984 (Act), 18 U.S.C.S §3141 et seq., sets forth the limited

circumstances in which a defendant may be detained before trial despite the presumption in favor

of liberty.” U.S. v. Yaming Nina Qi Hanson, 613 F. Supp. 2d 85, 86 (D.D.C. 2009). The court is

tasked with determining whether the defendant poses a flight risk or a danger to any other person

and the community. 18 U.S.C. §3142.

       Determination of whether the defendant poses a danger to the community is determined by

a standard of clear and convincing evidence. U.S. v. Ali Muhamed Ali, 793 F. Supp. 2d at 387.

Clear and convincing evidence means proof that the particular defendant actually poses a danger

to the community, not that a defendant “in theory” poses a danger. U.S v. Patriarca, 948 F.2d 789

(1st Cir. 1991). Only if there is a “strong probability that a person will commit additional crimes

if released” is the community interest in safety sufficiently compelling to overcome the criminal

defendant’s right to liberty. U.S. v. Ploof, 851 F.2d 7 (1st. Cir. 1988).

       Preliminarily, it is worth noting the recent decision of the U.S. Court of Appeals for the

District of Columbia Circuit in United States v. Munchel, 991 F.3d 1273, 1275 (D.C. Cir.),

judgment entered, 844 F. App’x 373 (D.C. Cir. 2021), which established that to detain, the

“Government [must] prove by clear and convincing evidence that an arrestee presents an identified

and articulable threat to an individual or the community.” (emphasis added).

       Furthermore, “[i]n assessing whether pretrial detention is warranted for dangerousness, the

district court considers four statutory factors: (1) ‘the nature and circumstances of the offense

charged,’ (2) ‘the weight of the evidence against the person,’ (3) ‘the history and characteristics of

the person,’ and (4) ‘the nature and seriousness of the danger to any person or the community that



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would be posed by the person’s release.’” United States v. Munchel, 991 F.3d 1273, 1275 (D.C.

Cir.), judgment entered, 844 F. App’x 373 (D.C. Cir. 2021).

       In Mr. Dolan’s case, the Government has unquestionably failed to establish by clear and

convincing evidence that he poses an articulable threat to an individual or the community; nor has

the Government established a clearly identified threat posed by Mr. Dolan’s release. Application

of the four factors to the instant matter inexorably leads to the conclusion that Mr. Dolan possesses

no articulable threat of danger to the community and should be released.

           a. Nature and circumstances of the offense

       When analyzing the first factor, Chief Judge Howell articulated “guideposts” for assessing

“the comparative culpability of a given defendant in relation to fellow rioters: (1) whether the

defendant has been charged with felony or misdemeanor offenses; (2) the extent of the defendant’s

prior planning; (3) whether the defendant used or carried a dangerous weapon; (4) evidence of

coordination with other protestors before, during, or after the riot; (5) whether the defendant

assumed a formal or de facto leadership role in the events of January 6, 2021, for example by

‘encouraging other rioters’ misconduct such as ‘to confront law enforcement;’ and (6) the

defendant’s words and movements during the riot – e.g. whether the defendant remained only on

the grounds surrounding the Capitol or stormed into the Capitol interior, or whether the defendant

injured, attempted to injure, or threatened to injure others. These factors, ‘[t]aken together, as

applied to a given defendant, … are probative of ‘the nature and circumstances of the offense

charged,’ 18 U.S.C. [Section] 3142(g)(1), and, in turn, of the danger posed by the defendant,’ as

relevant to the fourth Section 3142(g) factor.” Id. at 20-21.

       Regarding the first guidepost, whether the Defendant was charged with a felony or

misdemeanor, Chief Judge Howell noted that “[f]elony charges are by definition more serious than



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misdemeanor charges; the nature of a felony charge is therefore substantially more likely to weigh

in favor of pretrial detention than the nature of a misdemeanor offense.” However, “the conduct

of a defendant who injured, attempted to injure, or threatened to injure others, or who damaged or

attempted to damage federal property, is more troubling than the conduct of a defendant who,

though unlawfully present in a restricted area, merely wandered the premises. Id. At 23-24.

       Defendant is charged with three felonies and one misdemeanor; however, he is not accused

of any of the “troubling conduct” that Chief Judge Howell notes. He is not accused of assaulting

any law enforcement or encouraging other rioters to do so. Nor is Defendant accused of carrying

any type of firearm or weapon. Mr. Dolan did not damage any property inside the Capitol. The

United States admits that the considerable amount of evidence it has gathered to date confirms

neither Mr. Dolan nor the co-defendants in this case damaged the windows on the Capitol doors –

this damage was done prior to Mr. Dolan’s entry into the Capitol. The video shown by the

Government shows that Mr. Dolan went through open, undamaged doors. Again, Mr. Dolan did

not engage in any violence. Although Defendant was legally licensed to carry firearms, he did not

possess or use any on January 6th.

       Furthermore, Mr. Dolan is not, as the Government portrays him, a leader of the Oath

Keepers and should not be compared to Defendant Harrelson. While the two were associated, they

are entirely distinct in their comparative culpability. The Government alleges that Harrelson was

a leader of the Oath Keepers, known as “gator 6” and possessed administrative privileges on the

Florida Signal chat. He attended or organized approximately 30 meetings on Go To Meeting

related to the Oath Keepers. The Government further alleges that Harrelson, along with defendants

Kelly and Connie Meggs, participated in a “gunfight oriented training” in the fall of 2020 using an

AR-platform firearm.



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       Mr. Dolan, on the other hand, purchased a fifty-dollar subscription to the organization in

mid to late November of 2020 and participated in some online chats. At no point did he possess

administrative privileges in the online chats, nor organize meetings. He did not participate in

leaders-only meetings, nor was he even mentioned in the indictment until January 3, 2021. No

words of planning or organizing can be attributed to him. He may have been asked to tagalong,

but he was not a leader. He is not alleged to have given or received any Oath Keeper training. On

January 6, 2021, he was not in military garb. He is alleged to have entered and remained in the

Capitol, according to the sworn testimony of Special Agent Spence, for less than 10 minutes. There

has been no proffer that he destroyed any Government property.

       Moreover, Mr. Dolan’s actions were far less nefarious than those of other people charged

as a result of the events of January 6th, the majority of whom have been released. A review of

numerous other cases related to the January 6th breach of the Capitol reveals that the norm is

release.

       For example, in United States v. Chad Jones, 1:21-mj-00076-ZMF, Mr. Jones was charged

with assaulting a police officer with the use of a deadly or dangerous weapon or infliction of bodily

injury. Mr. Jones allegedly utilized a flagpole to forcefully strike and breakthrough the glass of the

doorway where Ashley Babbitt was killed as she climbed through a broken pane. The Government

did not request Mr. Jones’s detention and Magistrate Judge Harvey released him on special

conditions.

       Similarly, in United States v. Vitali Gossjankowski, 1:21-cr-00123-PLF, Mr.

Gossjankdowski was released, with no government objection, after being charged with assaulting

a federal officer with a dangerous weapon, a taser, under Section 111(b). The allegations in support




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of the complaint describe that an officer near Mr. Gossjankowski suffered a heart attack and was

hospitalized after being tased multiple times.

       In United States v. Rachel Powell, 1:21-mj-00197-GMH, Ms. Powell was charged with

using a battering ram to break a large window of the Capitol in order to forcibly enter. The

Government also alleges that Ms. Powell used a bullhorn to direct rioters inside the Capitol. She

was released by Chief Judge Howell over the Government’s objection.

        In fact, one of the co-defendants in the instant matter, Mr. Caldwell, was originally

detained. However, on May 28, 2021, the Government filed a motion objecting to the

modifications of bail, and wrote regarding Mr. Caldwell, “a major part of his role in the conspiracy

was organizing individuals who were on standby with guns in a hotel across the river, conduct that

this court has described as among the most concerning aspects of the conspiracy and for which the

evidence has only strengthened since Defendant Caldwell’s release. Under these circumstances,

the Government repleads confinement to his property with permission to leave for religious

services and medical appointments is a completely reasonable and essential level of restrictiveness

to insure the safety of the community.”

       As this Honorable Court is well-aware, the majority of the co-defendants in the instant

matter have been released.

           b. Weight of the evidence

       In determining whether conditions of release can ensure the safety of others, “[t]he weight

of the evidence is the least important of the factors and the bail statute neither requires nor permits

a pretrial determination of guilt.” United States v. Gebro, 948 F.2d 1118, 1121-22 (9th Cir. 1991)

(citing United States v. Winsor, 785 F.2d 755, 757 (9th Cir. 1986)); accord United States v. Jones,

566 F. Supp. 2d 288, 292 (D.NY. 2008). The weight of the evidence against the accused is another



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factor to be considered at the detention hearing, but it is the least significant factor. United States

v. Townsend, 897 F.2d 989 (9th Cir. 1990). In the words of one district court judge, to presume

risk of flight from strong “evidence” of guilt would be “tantamount to a presumption of guilt.”

United States v. Gray, 651 F. Supp. 432, 436 (W.D. Ark. 1987).

       Again, Mr. Dolan would draw the Court’s attention to the lack of any evidence

demonstrating that he assumed an official, administrative, or organizational role in furthering any

common scheme or plan of the collective. He did not injure or attempt to injure any officers; nor

did he damage any property. Much of the Government’s motion relies on “inference” and

“likelihoods” of what Mr. Dolan ultimately intended to do, rather than what he actually did.

       The Government places heavy emphasis on an anonymous Oath Keeper interview given to

thegatewaypundit.com on May 24, 2021, which they assert to be Mr. Dolan. As Judge

Matthewman already found, however, the Government failed to establish with any degree of

reasonably certainty that the interviewee was in fact Mr. Dolan. Even if the interviewee was Mr.

Dolan, the contents of said interview establish that no unlawful entry, violence or danger occurred.

The interviewee’s statement was that he was afraid he would be arrested, and he thought there was

evidence that the doors were opened from the inside because they were opened outward, and

controlled by magnetic locks, which is visible in the Government’s photographs. He did not

profess or promote violence then or now or at anytime in the future.

       Similarly, the Government makes inferential leaps proffering that surveillance photos

display Mr. Dolan pushing a luggage dolly with rifle cases on January 7, 2021. While the

Government believes that participants in the Capitol breach used this hotel to store firearms, law

enforcement cannot state with certainty the contents of those cases, or that it was even Mr. Dolan

in the photographs. Beyond that, no weapons were used before, during or after January 6th. If the



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guns were intended for use at the January 6th riot, that was certainly the time for it. The Government

articulates no facts or circumstances to support their claim that Mr. Dolan’s legal ownership and

possession of guns on January 6th somehow equates that he is a danger to the community. There

were neither any firearms located at his residence, nor in his possession.

             c. History and characteristics of the person

       When the Court considers whether conditions of release may ensure the safety of any other

person and the community, Section 3142 of 18 United States Code directs the Court to consider:

       (A) The person’s character, physical and mental condition, family ties, employment,
           financial resources, length of residence in the community, community ties, past
           conduct, history relating to drug or alcohol abuse, criminal history, and record
           concerning appearance at court proceedings; and

       (B) Whether, at the time of the current offense or arrest, the person was on probation, on
           parole, or on other release pending trial, sentencing, appeal, or completion of sentence
           for an offense under Federal, State, or local law;

18 U.S.C. § 3142(g). At the time of the current offense, Mr. Dolan was not on probation, parole,

or other release. Therefore, subsection (B) does not apply. Subsection (A) weighs in favor of

release.

       Mr. Dolan is of exemplary character. He was born in Jacksonville, Arkansas on June 26,

1976. He graduated from Lawrence High School in Lawrence, New Jersey, and he earned an

Associate’s Degree from Hawaii Pacific University in 2003. His mother resides in Georgia and his

father is deceased. He has been married for 19 years and has an 18-year-old daughter. He lives

with his wife and daughter in Wellington, Florida and has been associated with the same address

for the past five years. Mr. Dolan has been unemployed for the past year and a half. He left his

former employer, the Four Seasons Hotel in Palm Beach, Florida, to get his hip replacement

surgery and consequently has been unable to obtain new employment.




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        Defendant is a decorated veteran who served in the United States Marine Corps from

August 1994 until August 2014. He received an honorable discharge and reached the rank of Staff

Sergeant. He received the Navy and Marine Corps achievement medal on August 6, 2003 and

again on May 28, 2006; he further received a certificate of appreciation from former President

Obama. (See collectively, Exhibit 2).

        Mr. Dolan has absolutely no past conduct which would give even a shred of indication that

he poses a risk of danger to any individual, witness or juror in this case. He has enormous respect

for the law, as evidenced by his lack of criminal history and service with the United States military

for twenty years. Mr. Dolan, while serving in the military, obtained the highest clearance possible,

enabling him to protect the United States President. That Mr. Dolan was so highly regarded by the

United States military as an individual of trust in a position addressing the security of others speaks

volumes to his commitment to the wellbeing of his community and the assessment of his reputation

by others. Such is the standing of his character that he was authorized to carry a firearm in the

pursuit of his duties.

        Defendant is 44 years old and has never been convicted of a crime. When he was in high

school he was arrested in New Jersey for possession of “a firearm” at school. However, despite

the title of the crime charged, he was actually arrested for displaying a pocket knife to his shop

teacher. The charge was dismissed within 45 days. Several years later, when he was 23 years old,

Mr. Dolan was arrested in South Carolina where he was escorted of a bar by a bouncer. That

charge was also quickly withdrawn.

        Moreover, in the five months following the January 6th incident, Mr. Dolan was not

accused of any criminal wrongdoing. The pretrial services report correctly recommended, after

conducting an interview of Mr. Dolan, that he be released. Mr. Dolan’s character, physical and



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mental condition, family ties, community ties, past conduct and lack of criminal history all weigh

heavily in favor of his release.

            d. Nature and seriousness of the danger to any person or the community
        The Government bears the ultimate burden of establishing that no series of conditions is

sufficient to negate the risk of the accused’s flight or dangerousness – by a preponderance of the

evidence in the case of flight and by clear and convincing evidence in the case of dangerousness.

United States v. English, 929 F.3d 311, 319 (2d Cir. 2011); see also Stone, 608 F.3d at 946. Clear

and convincing evidence means proof that the defendant actually poses a danger to the community,

not that a defendant “in theory” poses a danger. U.S. v. Patriarca, 948 F.2d 789 (1st Cir. 1991).

Only when there is a “strong probability that a person will commit additional crimes if released”

is the community interest in safety sufficiently compelling to overcome the criminal defendant’s

right to liberty. Ploof, 851 F.2d 7.

        As discussed above, Mr. Dolan has no criminal history and enjoys significant ties to his

community to such an extent pretrial services recommended his release.

            e. Conditions or combination of conditions that would ensure the defendant’s
               compliance with court-ordered release conditions

        It is well-established under federal law that a defendant will be released pending trial unless

the Government can prove by clear and convincing evidence that pretrial detention is the only

means by which the community’s safety can be assured. 18 U.S.C. § 3142(f)(2)(B); U.S. v. Smith,

79 F.3d 1208, 1209 (D.C. Cir. 1996), or can prove by a preponderance of the evidence that no

conditions of release can assure the defendant’s appearance at future court hearings. U.S. v.

Peralta, 849 F.2d 625, 626 (D.C. Cir. 1988); U.S. v. Hassanshahi, 989 F.Supp. 2d 110 (D.D.C.

2013). Even if the Court determines that personal recognizance or an unsecured bond will not

reasonably assure appearance or will endanger any other person or the community, 18 U.S.C.


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§3142(c) still mandates release subject to certain specified conditions. The conditions, which must

include that the person shall not violate any federal, state or local law, must be the least restrictive

conditions necessary to reasonably assure the person’s appearance and the community’s safety.

The provision that conditions “reasonably assure” appearance and safety does not require a

guarantee of appearance or safety. See U.S. v. O’Brien, 895 F.2d 810 (1st Cir. 1990); U.S. v.

Fortna, 769 F.2d 243 (5th Cir. 1985), cert. denied, 479 U.S. 950 (1986). It requires an “objectively

reasonable” assurance of community safety and the defendant’s appearance at trial. Id. Imposition

of conditions of release must be supported by reasons why they are necessary to reasonably assure

appearance or safety. U.S. v. Spilotro, 786 F.2d 808 (8th Cir. 1986).

       This Honorable Court has a multitude of options to create conditions that would ensure Mr.

Dolan’s appearance and compliance. The special conditions ordered by Judge Matthewman are

more than sufficient: (1) that defendant cannot obtain or apply for a new passport or travel

documents; (2) he must report to pretrial services as directed; (3) he will have no contact

whatsoever with any victims, witnesses, Oath Keepers, or anyone who participated or was

involved in the attack on the U.S. Capitol on January 6, 2021; (4) he shall not possess any firearms,

and there can be no firearms in his home; (5) he shall be on home incarceration with GPS location

monitoring; (6) he shall be under the supervision of the U.S. Probation Office’ Special Offender

Unit; (7) he shall not possess encryption software on any computers/phones/devices; (8) he shall

actively seek full-time employment that shall be approved by pretrial services or the Court; and

(9) he will be restricted to traveling solely within the Southern District of Florida, and to the

District of Columbia for court proceedings, but only when approved by U.S. probation or the

Court. As previously discussed, Mr. Dolan has significant ties to his community, and a wife and




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daughter willing to provide him with the support to perform well and fully comply with all

conditions of his pretrial release.

    V.      Conclusion
         Mr. Dolan respectfully requests that this Honorable Court deny the Government’s Motion

for Revocation of Order of Release, and release him with whatever conditions that this

Honorable Court deems appropriate.



                                VAN DER VEEN, O’NEILL, HARTSHORN, AND LEVIN




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